Case: 4:19-cv-00460-RWS Doc. #: 1 Filed: 03/15/19 Page: 1 of 9 PagelD #: 1

RECEIVED
MAR 15 2019 UNITED STATES DISTRICT COURT FOR
THE EASTERN DISTRICT OF MISSOURI

U.S. District Court DIVISION
Eastern District of MO

 

Terre ce. SANUS | Etowley

D-

Complaint for a Civil Case

Case No.
(to be assigned by Clerk of
District Court)

(Write the full name of each plaintiff
who is filing this complaint. If the
names of all the plaintiffs cannot fit in
the space above, please write “see

attached” in the space and attach an
additional page with the full list of Plaintiff requests trial by jury:

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Y.
Pro yi dence
Health + Services

(Write the full name of each defendant.
The caption must include the names of
all of the parties. Fed. R. Civ. P. 10(a).
Merely listing one party and writing “et
al.” is insufficient. Attach additional

sheets if necessary.)

CIVIL COMPLAINT
NOTICE:

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date, the full name of a person
known to be a minor, or a complete financial account number. A filing may include only: the last
four digits of a social security number, the year of an individual's birth, a minor’s initials, and the
last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness
statements, or any other materials fo the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the $400.00 filing fee or an
application fo proceed without prepaying fees or costs.

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I. The Parties to This Complaint

A. The Plaintiff(s)

-Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Ter 5S 4, f l-e

Street Address aAbsab E Hakose Darvte

 

 

 

City and County Jeanings

State and Zip Code Si sSovn.t_, 313b

Telephone Number 907-22.9~-Y3I6 _

E-mail Address V fe Jo tle t co 1

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For
an individual defendant, include the person’s job or title (if known). Attach additional
pages if needed.

Defendant No. |

Name Provider Ce Health t seep} cx >
Job or Title Providence Alaska Medical Center

Street Address 32m Providence. Des ve.
City and County Aath Oras.

State and ZipCode AIAG ' “4 4 50%
Telephone Number 4()7)- C ee 22 II

E-mail Address aL A=

(If more than one defendant is named in the complaint, attach an additional
page providing the same information for each additional defendant. If you are
suing for violation of your civil rights, you must state whether you are suing
each defendant in an official capacity, individual capacity, or.both)

2
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IY.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only three
types of cases can be heard in federal court. Provide the information for this case.

(Include all information that applies to your case)

A. Federal question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case. ‘

Civil Lights Dig ceiainetiod

B. Suit against the Federal Government, a federal official, or federal agency

List the federal officials or federal agencies involved, if any.

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Cc. Diversity of Citizenship

These are cases in which a citizen of one State sues a citizen of another State or nation,
and the amount at stake is more than $75,000. In a diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

1, The Plaintiff(s) V[f

The plaintiff, (name) , is a citizen of the
State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

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2. The Defendant(s)

If the defendant is an individual —

The defendant, (name) Ieare Nex oF: mye C box la , is a citizen

of the State of (name) Mies mu Pad Or is a citizen

of (foreign nation)

 

If the defendant is a corporation

The defendant, (name)

 

is incorporated under the laws of the State of (name)

‘ , and has its principal place of

business in the State of (name) Or

is incorporated under the laws of the State of (foreign nation)

, and has its principal place

 

of business in (name)

 

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional

defendant.)

3. The Amount in Controversy

The amount in controversy----the amount the plaintiff(s) claims the defendant(s)
owes or the amount at stake----is more than $75,000, not counting interest and

costs of court, because (explain): f Soo, 000,000.00
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Ill, Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must state what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary. ,

Your statement of claim must include all of the-following information:

What happened to you?

When did it happen?

Where did it happen?

What injuries did you suffer?

What did each defendant personally do, or fail to do, to harm you?

See Atlached

Yee Np

IV. = Relief

State briefly and precisely what damages or other relief you want from the Court. Do
not make legal arguments. Five hvadted villiov Dollars

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On March 15,2017 Terrence Samuel Crowley visited the emergency room at Providence Hospital
emergency room and registered for medical assistance feeling extremely unwell in Anchorage, Alaska.

After being admitted to the emergency room and being seen by a doctor Mr. Crowley sent for a medical
scan and returned to his assigned room. Awaiting the results and to spoken to by the medical staff Mr.
Crowley feel asleep. The following Incurred. :

Mr. Crowley committing no infraction whatsoever was aggressively awakened by security personnel
saying, “Get up you have to leave, you need to go!” as he stood over Mr. Crowley laying in the hospital
bed. Mr. Crowley without discussion of any kind sat up in his hospital bed still dressed in his hospital
gown.

After making a quick observation of the room, Mr. Crowley saw that there was documentation on top of
his clothes which where in a chair in plain view. The door to the room was open exposing the hallway
allowing clear line of sight within the room, there was no privacy curtain or partition between Mr. |
Crowley or the security personnel and or the door to the room.

Mr. Crowley then got out the bed and walked over to his clothes and documentation, while picking up
the documentation attempting to review it having not spoken to any medical staff and calmly asking the
security personnel to speak with medical staff.

The security personnel continued being verbally aggressive, as well as aggressive in his physical posture
continuously Mr. Crowley” hurry up you have to leave, and no he could not speak to medical staff*.

Mr. Crowley was forced to take off his hospital gown and get dressed in front of the security personnel
who refused to leave the room or allow Mr. Crowley privacy to get undressed and redressed. There was
a female nurse in plain view of Mr. Crowley in the hallway as well as a visible security camera on the
ceiling.

Mr. Crowley after being forced to get dressed in front of security personnel was again told no that he
couldn’t speak to medical staff to receive information about what was diagnosed about his emergency
room visit and that he *Has to leave now, you have to leave”. The security personnel then proceeded to
escort Mr. Crowley up the hallway walking extremely close to Mr. Crowley parading him past hospital
staff and or any other person whom may have been able to see them walking up the hallway to the exit
doors into the emergency room lobby.

Upon entering the emergency room lobby Mr. Crowley attempted to sit down to review his discharge
summary which was never explained to him being prevented from speaking to hospital staff was then
told by the security personnel again he had to leave, that he could not be on the Providence Hospital
campus and proceeded to say to Mr. Crowley : How are you leaving? Are you walking? Are you catching
the bus?

Out of frustration Mr. Crowley finally realizing that he was being Discriminated against said “Fuck You”
and began to walk to the exit doors to leave the emergency room, there is a coffee shop located inside
the entrance and or exit of the emergency room Mr. Crowley went and got in line to purchase coffee.

The security personnel were standing there from following Mr. Crowley who proceeded to take out his
car keys and wallet, Mr. Crowley calmly asked the security personnel if he would like a coffee, and then
asked for the security personnel officers name and for the number to file a complaint, The security

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personnel whose identification badge was turned backwards said “No”. Mr. Crowley calmly asked again
for the security personnel name and information to file a complaint and again was told “No”.

During this time two additional security personnel came to the outside of the coffee shop entrance one
appearing to be an African-American male, and one female security personnel never approaching or
speaking to Mr. Crowley. After exiting the coffee shop and beginning his exit of the emergency room
Mr. Crowley asked the security personnel whom appeared to be African-American security personnel for
the information to file a complaint and he said “No”.

Mr. Crowley then told him “If | was your son or relative, and you knew how he treated me you would be
just as upset as | am” , making reference to the security personnel that had escorted Mr. Crowley after
awaking him and forcing him to get undressed and redressed in front of him and denying Mr. Crowley to
speak with medical staff without cause or any kind of infraction that would warrant such behavior or
action. Mr. Crowley exited the emergency room and left the hospital campus without incident.

On April 21,2017 Mr. Terrence Samuel Crowley arrived at the Providence Hospital emergency room
providing transportation for Ms. Lisa Rutzebeck to be seen and back to her place of residence if she was
admitted to the hospital from her medical emergency.

Mr. Crowley parked and went into the emergency room lobby to wait for Ms. Rutzebeck, upon going to
be seated and putting his belongings down Mr. Crowley noticed within the Security observation post
located in the lobby was the security personnel whom was directly involved during Mr. Crowley's
emergency room visit on March 15,2017.

Mr. Crowley then saw another security personnel enter the security post, upon that security personnel
exiting Mr. Crowley calmly approached him asking him to speak to a supervisor he sharply replied, “for
what!l”. Mr. Crowley calmly replied because he needed to speak with a supervisor about an incident. The
security personnel walked towards the security office, the security personnel from the March 15,2017
incident remained within the security post.

Mr. Crowley was then approached by three security personnel one identifying himself as the supervisor
and said first your going to have to give me that knife on your hip you can’t have that in here,

Mr. Crowley calmly told the supervisor that he apologized and that he was not aware that he couldn’t
have the knife in the emergency room and was it ok for him to go put the knife in his vehicle, the
supervisor said yes that was fine. Mr. Crowley left out calmly in compliance with the supervisor's
permission,

Upon Mr. Crowley re-entering the security personnel supervisor and two other security personnel
where waiting at the entrance Mr. Crowley returned with a book in his hand and began explaining the
afore-mentioned incident that occurred in March not sure at that time of the exact day.

So, Mr. Crowley went to the registration window located directly in front of him and the security
personnel to ask for the information of his last visit.

The person at the registration window told Mr. Crowley that he Had to register to be seen to be given
that information although Mr. Crowley was providing his State of Alaska Identification Card. The person
said what do you want to be seen for? Mr. Crowley said, “my back | guess”. He was then given his last
visit information of March-15,2017.

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Mr. Crowley informed the security personnel supervisor he simply just wanted the primary security
personnel that was involved on March 15,2017 to apologize to him. The supervisors reply was “No I'm
not going to do that”. Mr. Crowley calmly informed that he didn’t understand why he was treated like
that and that an apology was all that he wanted. The supervisor said he had the information and he’d
investigate it.

Mr. Crowley mentally distraught went through the process of being admitted to the emergency room
where he then began to suffer a mental breakdown and began crying unconsolably and repeating over
and over out loud that he just wanted an apology. He called his mother who was unable to console him
as Mr. Crowley kept saying he didn’t understand, that he was sleeping, mama | was just sick | wasn’t
doing anything wrong, | was just sleeping, in reference to the incident in March. Several hospital staff
members entered Mr. Crowley’s room and he continuously repeated that all he wanted was an apology.

He was discharged after refusing medical treatment for his back.

Mr. Terrence Samuel Crowley has never been served or otherwise told that he was or would be
Trespassing prior to nor after his emergency room visit.

The actions of the hospital staff and the security personnel not only violated hospital discrimination
policy but also Mr. Crowley’s civil rights as a citizen of The United States of America.

Mr. Terrence Samuel Crowley is an African-American male and had also used Providence Hospital prior
to these events

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Do you claim the wrongs alleged in your complaint are continuing to occur now?

Yes A we [|
Do you claim actual damages for the acts alleged in your complaint?

Yes wie [| .

Do you claim punitive monetary damages?
ves J wo L]

If you indicated that you claim actual damages or punitive monetary damages, state the
amounts claimed and the reasons you claim you are entitled to recover these damages.

Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

[ agree to provide the Clerk’s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with

the Clerk’s Office may result in the dismissal of my case.

I declare under penalty of perjury that the foregoing is true and correct.

 

 

 

 

 

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fiting and service of pleadings or other papers as required by law, except as
provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS [eppejce Samuel Caowl, eg DEFENDANTS Peov! denex Health + Secvitss

County of Residence of First Listed Defendant Ancchotase Alasicn—

(IN U.S. PLAINTIFF CASES ONLY)

iN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

3844 (Rev. 07/16)

(b) County of Residence of First Listed Plaintiff

Stlovis Cowan te
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

NOTE:

Attorneys (1/ Known)

 

 

 

 

 

IJ. BASIS OF JURISDICTION (Piece an “X" in One Box Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “x in One Bax for Plaintiff

{For Diversity Cases Only) and One Box for Defendant)
D1 US. Government O 3 Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Perty) Citizen of This State O11 O U _Incomponted or Principal Place o4 04
of Business In This State
O2 US. Government O04 Diversity Citizen of Another State O2 CO 2 Incorporated and Principal Pisce os o5
of Business In Another State

Defendant

IV. NATURE OF SUIT (Piace on “X" in One Box Only)

{Indicate Citizenship of Porites in Hem (11)

 

 

 

 

 

 

 

Citizen or Subject of a QO3

Foreign County

O 3 Foreign Nation Oo6 O86

 

 

 

 
 

 

 

 

  

 

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6 110 Insurance PERSONAL INJURY PERSONALINJURY |O 625 Drug Related Scizure O 422 Appeal 28 USC 158 O 375 Fatse Claims Act
O 120 Marine O 310 Airplane O 365 Personal Injusy ~ of Property 2] USC 881 10 423 Withdrowal O 376 Qui Tam (35 USC
© 130 Miller Acc © 315 Airplane Product Product Liability O 690 Other 28 USC 157 3725{a))
O 140 Negotiable Instrument Liability O 367 Health Cares GO 400 State Reapportionment
O 150 Recovery of Overpayment [© 320 Assault, Libel & Pharmaceutical O 410 Antivust
& Enk of Judg Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
© ISI Medicare Act O 330 Federal Employers® Product Liability O 830 Patent O 480 Commerce
0) 152 Recovery of Defaulted Liability © 368 Asbestos Personal O 840 Trademark O 460 Deportation
Saudent Loans O 40 Marine Injury Product . O 470 Racketeer Influenced and
(Excludes Veterans) O 345 Marine Product Liability PAGES FAS LAR ORUECEARE Th Gi Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY jQ) 710 Fair Labor Standards O 861 KIA (1395fF) © 480 Consumer Credit
of Vetcran‘s Bencfits 0 350 Motor Vebicle O 370 Other Fraud Act © 862 Black Lung (923) O 490 Cable/Sai TV
O 160 Stockholders’ Suits O 355 Motor Vehicle O 371 Truth in Lending O 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 0 850 Securitices/Commodities/
© 190 Other Contract Product Liability CO 380 Other Personal Relations CO 864 SSID Title XVI Exchange
© 195 Conwact Product Liability | 360 Other Personal Property Damage O 740 Railway Labor Act O 865 RSI (405(g)) © 890 Ocher Stantory Actions
0 196 Franchise Injury O 385 Property Damege © 751 Family and Medical O 891 Agricultural Acts
O 362 Persona) Injury - -Product Liability Leave Act © 893 Environmental Matters
Medical Malpractice O 790 Other Labor Litigation O 895 Freedom of Information
IPS EREALPRORERT CSAS a OREGIVNIRIGH TS FOES TERRONEREETITIONSS| 0 791 Employce Retirement SM REDERAISTAMISUIT SHS Act
O 210 Land Conderpnation £440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff O 855 Asbivation
QO 220 Foreclosure O 442 Voting O 463 Alien Detainee . or Defendant) 0) 899 Administrative Procedure
*O 230 Rent Lease & Ejectinent CG 442 Employment O 510 Motions to Vacate O 871 IRS—Third Party Ac¥Review or Appeal of
O 240 Tons to Land DO 443 Housing/ Sentence . 26 USC 7609 Agency Decision
O 245 Ton Product Liability Accommodations O 530 General O $50 Constimtionality of
© 290 All Other Real Property O 448 Amer, w/Disabilities -[( 535 Death Penalty [EREESENUIMIG RATION REY State Statutes
Employment , Othes: O 462 Naturalization Application
C446 Amer. w/Disabilities - [CO 540 Mandamus & Other [© 465 Other Immigration
Other O 550 Civil Rights Actions
O 448 Education O 555 Prison Condition
OD 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Piece an “X" in One Box Only)
¥ 1 Original O 2 Removed from © 3° Remanded from O14 Reinstatedor O 5 Transferred from © 6 Multidistrict G8 Multidistrict
Proceeding State Court Appellate Court Reopen Another District Litigation - Litigation -
: (specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do nat cite jurisdictionel statutes unless diversity):

Vi. CAUSE OF ACTION

 

Brief description of cause:

 

VII. REQUESTED IN

O CHECK IF THIS 1S A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cy.P. JURY DEMAND:  O Yes O No
VII. RELATED CASE(S) | toms):
IF ANY Wee tnsiruetions}: Ge DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY °
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

oe )
Jerpence Caneel Ceswles

Plaintiff, )

)
v. ) Case No.

)
Peo videace Hea [ty ¢Secvie ©
Defendant, )
)

ORIGINAL FILING FORM

THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
WHEN INITIATING A NEW CASE.

[] THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

 

AND ASSIGNED TO THE HONORABLE JUDGE

4 THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY
PREVIOUSLY FILED COMPLAINT, THE RELATED CASE NUMBER IS : AND
THAT CASE WAS ASSIGNED TO THE HONORABLE . THIS CASE MAY,

THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.

PY NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT
COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

MAY BE OPENED AS AN ORIGINAL PROCEEDING.

The undersigned affirms that the information provided above is true and correct.

7
Date: / lAbah / C2014 LAky sAdd, of Ohta pe
. Signature of Filing Pgfty

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